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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                NO. CR.S-08-0093-FCD
10                                  )
          PLAINTIFF,                )                STIPULATION AND ORDER
11                                  )                TO CONTINUE THE STATUS
          v.                        )                CONFERENCE TO MONDAY
12                                  )                JANUARY 24, 2011
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney, Mr. Matthew C. Stegman and the defendants
18   (hereinafter referred to as the defendants): 1-Charles Head, represented by attorney,
19   Mr. Scott L. Tedmon; 2-Jeremy Head, represented by attorney, Mr. Christopher
20   Hayden-Myer; 3- Leonard Bernot, represented by attorney, Mr. Bruce Locke; 4-
21   Joshua Coffman, represented by attorney Mr. John P. Balazs;
22   5- John Corcoran, represented by attorney, Mr. Matthew C. Bockmon; 6- Sarah
23   Mattson, represented by attorney, Mr. Joseph J. Wiseman; 7- Omar Sandoval,
24   represented by attorney, Mr. Michael B. Bigelow; 8- Xochitl Sandoval, represented by
25   attorney, Ms. Candace A. Fry; 9- Kou Yang, represented by attorney, Mr. Joseph
26   Low, IV; and 10-Domonic McCarns, represented by attorney, Mr. James R. Greiner,
27   hereby agree and stipulate that the current date for the status conference currently set
28                                               1
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 1   for, Monday, December 6, 2010, is hereby vacated and can be rescheduled for
 2   Monday, January 24, 2011, at 10:00 a.m. in Courtroom #2 before the Honorable
 3   District Court Judge, Frank C. Damrell, Jr..
 4         Further, all of the parties, the United States of America and all of the defendants
 5   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 6   excluded under Title 18 section 3161(h)(7)(B)(ii) and section 3161(h)(7)(B)(iv),
 7   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4 (to
 8   allow defense counsel reasonable time to prepare and continuity of counsel).
 9         The government has produced over 290,000 pages of discovery to defense
10   counsel. In addition, the government has recently produced discovery on an 16 MG
11   external hard drive, which defense counsel need time to review and review with their
12   respective clients. All defense counsel are in the process of reviewing this material,
13   meeting with their respective clients and going over the discovery with their clients.
14   All defense counsel need additional time to continue that process. In addition, all
15   defense counsel need additional time as they research to identify potential legal issues.
16         The parties agree and stipulate that, the interest of justice in granting this
17   reasonable request for a continuance outweighs all other interests in this case for a
18   speedy trial in this case, pursuant to Title 18 section 3161(h)(7)(B)(ii) and section
19   3161(h)(7)(B)(iv), corresponding to Local code T-2 (the complexity of the case) and
20   Local Code T-4 (to allow defense counsel reasonable time to prepare and for
21   continuity of defense counsel).
22         The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
23   the Court was available on Monday, January 24, 2011, and the Court is available.
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28                                                2
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 1   Respectfully submitted:
 2                               BENJAMIN B. WAGNER
                                 UNITED STATES ATTORNEY
 3
                                 /s/ Matthew Stegman by telephone authorization
 4
     DATED: 12-1-10              _____________________________________
 5                               Matthew Stegman
                                 ASSISTANT UNITED STATES ATTORNEY
 6                               ATTORNEY FOR THE PLAINTIFF
 7   DATED: 12-1-10
                                 /s/ Scott Tedmon by e mail authorization
 8                               ______________________________________
                                 Scott Tedmon
 9                               Attorney for Defendant Charles Head
10   DATED: 12-1-10              /s/ Christopher Hayden-Myer by telephone
                                 authorization
11                               _______________________________________
                                 Christopher Hayden-Myer
12                               Attorney for Defendant Jeremy Head
13   DATED: 12-1-10              /s/ Bruce Locke by e mail authorization
                                 _____________________________________
14                               Bruce Locke
                                 Attorney for Defendant Leonard Bernot
15
     DATED: 12-1-10              /s/ John Balazs by e mail authorization
16                               ______________________________________
                                 John Balazs
17                               Attorney for Defendant Joshua Coffman
18   DATED: 12-1-10              /s/ Matthew Bockmon by e mail authorization
                                 ______________________________________
19                               Matthew Bockmon
                                 Attorney for Defendant John Corcoran
20
     DATED: 12-1-10              /s/ Joseph Wiseman by e mail authorization
21                               ____________________________________
                                 Joseph Wiseman
22                               Attorney for Defendant Sarah Mattson
23   DATED: 12-1-10              /s/Michael Bigelow by e mail authorization
                                 ________________________________________
24                               Michael Bigelow
                                 Attorney for Defendant Omar Sandoval
25
     DATED: 12-1-10              /s/ Candace Fry by e mail authorization
26                               ______________________________________
                                 Candace Fry
27                               Attorney for Defendant Xochitl Sandoval
28                                         3
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 1   DATED: 12-1-10                   /s/ Joseph Low, IV by e mail authorization
                                      ______________________________________
 2                                    Joseph Low, IV
                                      Attorney for Defendant Kou Yang
 3
     DATED: 12-1-10                   /s/ James R. Greiner
 4                                    ___________________________________
                                      James R. Greiner
 5                                    Attorney for Defendant Dominic McCarns
 6
                                             ORDER
 7
 8         Based upon the representations of counsel, the record in this case, and the
 9   agreements and stipulations between counsel in the case, and that
10         The parties agree and stipulate that this Court can make the appropriate findings
11   supported by the record in this case that this case is complex pursuant to the Speedy
12   Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
13   the Court to make the finding that this case is so unusual or so complex, due to the
14   nature of the prosecution, and/or the existence of novel questions of fact or law,
15   and/or, the existence of the amount of discovery (over 290,00 pages of discovery
16   previously discovered by the government and recently discovered a 16 MB external
17   hard drive of discovery), that it is unreasonable to expect adequate preparation for
18   pretrial proceedings or the trial itself within the time limits established by the Speedy
19   Trial Act. In addition, the Court can make a finding from the record in this case, that
20   time shall also be excluded under local code T-4, that time is to be excluded for the
21   reasonable time necessary for effective preparation by defense counsel, continuity of
22   defense counsel and Title 18 U.S.C. section 3161(h)(7)(B)(iv), of the speedy trial act.
23
24         The Status Conference currently set for Monday, December 6, 2010, is
25   vacated, and the new Status Conference is set for Monday, January 24, 2011 with
26   time excluded under the Speedy Trial Act from Monday, December 6, 2010,
27   through to and including Monday, January 24, 2011, for the reasons agreed to and
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 1   stipulated by the parties and as stated herein.
 2         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 4
 5   DATED: December 2, 2010
                                             _______________________________________
 6                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE
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